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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


 Tom Hensiek and Jason Gill, on behalf of
 themselves individually, and on behalf of
 similarly situated participants and
 beneficiaries of the Casino Queen Employee
 Stock Ownership Plan,

                   Plaintiffs,
                                                               Case No.: 3:20–cv–377
             v.
                                                      CLASS ACTION COMPLAINT
 Board of Directors of CQ Holding Company,
 Inc. (a/k/a Casino Queen Board of Directors),
 the Administrative Committee of the Casino
 Queen Employee Stock Ownership Plan,
 Charles Bidwill III, Timothy J. Rand, James
 G. Koman, Jeffrey Watson, Robert Barrows,
 and John and Jane Does 1-20,

                   Defendants.


                                     I.     INTRODUCTION

                  This is a civil enforcement action brought pursuant to Sections 502(a)(2) and 502

(a)(3) of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29

U.S.C. § 1132(a)(2) and (a)(3), by Plaintiffs Tom Hensiek and Jason Gill, on behalf of themselves

individually and other participants and beneficiaries in the Casino Queen Employee Stock

Ownership Plan (“Casino Queen ESOP,” “the ESOP,” or “the Plan”).

                  The Casino Queen ESOP is an ERISA-protected retirement plan where the

individual retirement accounts of current and former employees are invested entirely in the stock

of CQ Holding Company, Inc. (“the Company”). See 29 C.F.R. § 2550.407d–6 (definition of

“employee stock ownership plan”).

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               As participants in the Casino Queen ESOP, Plaintiffs were told initially that the

ESOP was a great opportunity that would lead to the creation of wealth for Casino employees.

However, this alluring promise was revealed to be a mere illusion in 2019 when the value of Casino

Queen stock – the sole asset held in the participants’ ESOP accounts – was disclosed to be worth

vastly less than what the ESOP’s fiduciaries led Plaintiffs to believe it was worth. This followed

years in which the ESOP’s fiduciaries concealed both that the ESOP had significantly overpaid for

the company stock in 2012, and that they engaged in other ERISA violations, including selling all

of the Casino’s real property out from under the ESOP.

               ERISA imposes exacting requirements on retirement plan fiduciaries because such

plans all too often “are abused by those responsible for their management who manipulate them

for their own purposes or make poor investments with them.” Mass. Mutual Life Ins. Co. v. Russell,

473 U.S. 134, 140 n.8 (1985) (quoting 3 Leg. Hist. 4811; 120 Cong. Rec. 29957 (1974)). Under

ERISA, fiduciaries must abide by strict fiduciary standards, including the duties of loyalty and

prudence, 29 U.S.C. § 1104(a)(1)(A) and (B), and prohibited transaction rules, which categorically

bar specific types of transactions that Congress found likely to injure the plan. Harris Tr. and Sav.

Bank v. Salomon Smith Barney, Inc., 530 U.S. 238, 241-43 (2000). As discussed herein,

Defendants did not come close to meeting their obligations under the statute.

               The Casino Queen Hotel & Casino (“Casino Queen”) is a former riverboat

gambling house which moved on land in 2007, to East St. Louis, Illinois. Casino Queen was owned

by a group of investors (the “Selling Shareholders”) who tried unsuccessfully for years to sell the

Casino to third party buyers – from approximately 2006 until 2011.

               Three of the Selling Shareholders who stood to profit handsomely from the sale of

the Casino were also members of the Casino Queen Board of Directors (hereinafter these three


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Shareholders are collectively referred to as the “Selling Board Members”); the majority of the

other Sellers were family members of individuals on the Board.

               Given their inability to find a buyer willing to pay what the Selling Shareholders

wanted for Casino Queen, the Selling Board Members created their own buyer for the Company

by establishing the ESOP to buy it outright.

               Specifically, the Casino Queen ESOP was established on December 1, 2012 solely

for the purpose of purchasing 100% of outstanding common stock of the Company (the “CQ

stock”).

               The Board of Directors handpicked two of their own Board Members to be the Co-

Trustees of the ESOP charged with approving the 2012 transaction, where the ESOP purchased all

of the CQ stock for $170 million, the entirety of which it had to borrow (the “2012 Transaction”). 1

In that role, the Trustees were explicitly instructed to take direction from an Administrative

Committee that the Board set up for the ESOP, which (not coincidentally) consisted of the Board

members and officers of the company. The Board retained the power to dismiss the Co-Trustees

(who continued serving on the Board while charged with approving the 2012 Transaction) and

Administrative Committee members, and thus controlled their decision-making.

               The Selling Board Members were the direct beneficiaries of the 2012 Transaction

and were therefore deeply conflicted. The Board-appointed Co-Trustees – Defendants Watson and

Barrows – were the only Board members who were not also Selling Shareholders at the time of

the Transaction.


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 As explained in detail below, Plaintiffs do not know the exact purchase price of the ESOP. The
Company submitted documentation of the 2012 Transaction to the Securities and Exchange
Commission stating that the sale price was $175 million, while reporting to the Department of
Labor that the sale price was only $4 million. Media reports at the time of sale indicated that the
Company was sold for $170 million.

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               Because the Board Members retained power over the Co-Trustees, and also over

the Administrative Committee on which the Board Members served, each of them was an ERISA

fiduciary to the ESOP. The Board Members also held fiduciary authority with respect to the 2012

Transaction pursuant to the terms of the plan document which governed the ESOP, as alleged in

detail below. This fiduciary status required that the Board Members act prudently and loyally

towards the ESOP and its participants, and avoid ERISA prohibited transactions.

               Instead, the Selling Board Members – with the assistance of the Co-Trustees and

Administrative Committee – indulged their significant conflicts and violated ERISA through two

major transactions, the details of which were largely concealed from employee participants and

the public.

               First, through their control over the ESOP’s Co-Trustees and Administrative

Committee, the Selling Board Members (in their fiduciary capacity) facilitated, and directed the

Co-Trustees to approve, the 2012 Transaction wherein the ESOP overpaid for the CQ stock

purchased from the Selling Shareholders. The inflated price paid for the CQ stock was based, in

part, on financial projections for Casino Queen’s future profitability, which the Board knew or

should have known were unreliable, unrealistic, and/or inaccurate.

               The Administrative Committee and the Co-Trustees they directed were bound to

conduct a prudent and loyal investigation to ensure that the 2012 Transaction was in the best

interest of the ESOP participants and to abide by ERISA’s strict prohibited transaction rules.

Although the Co-Trustees served as directed trustees in connection with the 2012 Transaction (who

were directed by the Administrative Committee), the Co-Trustees were precluded from approving

the 2012 Transaction if they had reason to believe that the Transaction was not in conformance

with ERSIA’s strict fiduciary provisions and prohibited transaction rules. Despite these duties, the


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Co-Trustees approved and effectuated the Transaction at an inflated stock price that did not

account for the sustained decline in revenues and diminished prospects for future profitability at

Casino Queen at the time of the Transaction. The Co-Trustees also acted imprudently, and not in

the best interest of the ESOP participants, when they approved the $170 million debt the ESOP

took on to complete the purchase of CQ stock, which was guaranteed by Casino Queen. In both

respects, the Co-Trustees imprudently went ahead with the 2012 Transaction at the direction of

the Administrative Committee (which acted as an arm of the Board).

                As a result of the 2012 Transaction, Casino Queen employees were forced to invest

their employer-sponsored retirement savings in Casino Queen stock at a price and terms approved

by the ESOP Trustee without employee input. Indeed, Casino Queen employees did not learn that

the ESOP had purchased Casino Queen until after the Transaction was completed and the purchase

price of $170 million was agreed to by the Selling Shareholders and the Co-Trustees. After the

Transaction, Casino Queen’s management told employees that the ESOP was a great opportunity

to become “owners” of Casino Queen and boasted that employees would be able to buy second

homes due to their ESOP participation.

                Together, the Board Members, Administrative Committee, and Co-Trustees

violated their ERISA fiduciary duties to act prudently and in the best interest of the ESOP

participants, and engaged in ERISA-prohibited transactions, through the 2012 Transaction.

                Second, after the 2012 Transaction, the Board Members and Co-Trustees (who,

after the 2012 Transaction, served as discretionary trustees, rather than directed trustees) facilitated

and caused the sale of virtually all of the Company’s real property to pay off the debt owed to the

Selling Board Members. Specifically, the proceeds of this sale provided an accelerated payment

on the 2012 Transaction loans held by the Selling Board Members. This real property sale was an


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extraordinarily bad deal for the Company and the ESOP, but it benefitted the Selling Board

Members and their families.

               The sale of the Company’s property and the refinancing of the Transaction debt

required a majority vote of Company shareholders. At all times following the Transaction, the

majority of the ESOP’s shares were voted by the Co-Trustees, so the sale and refinancing were

controlled by Co-Trustees appointed by the Board. Thus, through this asset sale, the Co-Trustees

and Board Defendants again violated their ERISA duties of prudence and loyalty and engaged in

prohibited transactions.

               Thereafter, the Co-Trustees, Administrative Committee, and Board Members

concealed these ERISA violations for years. Specifically, they concealed that the ESOP had paid

significantly greater than fair market value for Casino Queen by telling the employee participants

that the CQ stock was worth more than $170 million and misleading employees to believe their

ESOP retirement accounts were growing at amazing rates. However, in 2019, Plaintiffs and other

ESOP participants learned the unfortunate truth: that the value of CQ stock, the only investment

in their ESOP accounts, was worth approximately 95% less than was reported to employees for

years and was worth just 1.6% of what the ESOP originally paid for it.

               In summary, despite ERISA’s mandate that plan fiduciaries administer the Casino

Queen ESOP solely in the interests of the participants and beneficiaries, the Board Members,

Administrative Committee, and Co-Trustees orchestrated a highly leveraged and imprudent

purchase designed to benefit corporate insiders and then concealed this fact from ESOP

participants and beneficiaries until 2019.




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               Defendants’ ERISA violations caused tens of millions of dollars in losses to the

ESOP participants, who overpaid for the Company stock and will not receive the deferred

compensation they had earned.

               Plaintiffs bring this lawsuit on behalf of themselves and other ESOP participants to

obtain redress for Defendants’ fiduciary breaches and prohibited transactions, including

restoration of the losses that they suffered, disgorgement of the profits that Defendants wrongfully

obtained, and other equitable and remedial relief as provided by ERISA and applicable law.

                            II.     JURISDICTION AND VENUE

               Subject Matter Jurisdiction. This Court has subject matter jurisdiction over this

action pursuant to 28 U.S.C. § 1331. This Court also has subject matter jurisdiction pursuant to

ERISA § 502(a) and (e)(1), 29 U.S.C. § 1132(a), (e)(1).

               Personal Jurisdiction. This Court has personal jurisdiction over Defendants

because they transact business in, and have significant contacts with, this District, and because

ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2), provides for nationwide service of process.

               Venue. Venue is proper in this district pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2). Among other things:


         (a)   The ESOP is administered in this district;

         (b)   The fiduciary breaches at issue took place in this district;

         (c)   Casino Queen, which was the subject of the 2012 Transaction, is located in East
               St. Louis, Illinois;

         (d)   Defendant Jeffrey Watson resides in this district because, on information and
               belief, he resides in Belleville, Illinois, which is in St. Clair County;

         (e)   Defendant Robert Barrows resides in this district because, on information and
               belief, he lives in Edwardsville, Illinois, which is in Madison County;

         (f)   Plaintiff Tom Hensiek resides in this district, as he lives in Troy, Illinois, which is
               in Madison County; and

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         (g)   Plaintiff Jason Gill resides in this district, as he lives in Nashville, Illinois, which
               is in Washington County.

                                         III.    PARTIES

         A.    Plaintiffs

               (1)     Tom Hensiek

               Plaintiff Tom Hensiek is a former employee of Casino Queen and was a participant

in the Casino Queen ESOP during the relevant period.

               Mr. Hensiek began working at Casino Queen in 1999 and left his position as a

Manager in April 2018. At the time Mr. Hensiek left Casino Queen, he was fully vested in the

shares of CQ stock held in his ESOP account.

               Mr. Hensiek was a Casino Queen employee when the Company was sold to the

ESOP. Mr. Hensiek had no knowledge of – and was provided no information regarding – any

substance of deliberations of the fiduciaries who represented the ESOP in the 2012 Transaction.

               Plaintiff Hensiek left his job at Casino Queen in April 2018, with the understanding

that he would receive his first payment from his ESOP account at the end of 2019.

               However, in October 2019, Plaintiff Hensiek was surprised to learn that his ESOP

account had lost about 95% of its value, and that his ESOP account was being closed.

               Plaintiff Hensiek had planned to use the first distribution from his ESOP to

supplement his income in 2019. Plaintiff Hensiek also intended to rely on his ESOP account as a

source of income in retirement.

               (2)     Jason Gill

               Plaintiff Jason Gill is a former employee of Casino Queen and was a participant in

the Casino Queen ESOP during the relevant time period.




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               Mr. Gill began working at Casino Queen in 2013 and left his position as a Dealer

in July 2018. At the time Mr. Gill left Casino Queen, he was fully vested in the shares of CQ stock

held in his ESOP account.

               Plaintiff Gill left his job at Casino Queen in July 2018, with the understanding that

he would receive the first payment from his ESOP account at the end of 2019.

               However, near the end of 2019, Plaintiff Gill learned that his ESOP account had

lost about 95% of its value, and that his ESOP account was being closed.


         B.    Defendants

               (1)     The Board Defendants

               The Board of Directors of CQ Holding Company Inc., and the individual members

thereof are collectively referred to as the “Board Defendants.”

               As alleged below, Defendants Charles Bidwill, Timothy Rand, James Koman,

Jeffrey Watson and Robert Barrows were members of the Board of Directors for CQ Holding

Company Inc (the “Board” or the “Board of Directors”).

               To the extent there are other individuals who served on the Board of Directors

during the relevant period, their identities are unknown to Plaintiffs and are thus named as John

and Jane Does 1-10. Plaintiffs will substitute their names as soon as their identities are disclosed.

               As alleged in detail below, each of the Board Defendants was and is a fiduciary to

the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), because each of

them: (1) exercised discretionary authority control respecting management of the ESOP; (2)

exercised authority and control over the ESOP’s assets; and/or (3) have discretionary authority or

discretionary responsibility in the administration of the ESOP.




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                      a)      The Board of Directors of CQ Holding Co. Inc.


               The Board of Directors at all relevant times had the sole authority to appoint and

remove the ESOP Trustees and therefore were fiduciaries under ERISA. Through their full power

and discretion to hire and fire the ESOP Trustee(s), the Board of Directors had power and control

over the ESOP.

               At the time the ESOP was created, the Board Defendants appointed two of their

own Board members – Jeffrey Watson and Robert Barrows – as Co-Trustees of the Casino Queen

ESOP. The Board maintained Watson and Barrows as the Co-Trustees of the ESOP from the time

of the ESOP’s inception until at least 2018.

               The Board also had authority and discretion to appoint members of the

Administrative Committee. The Plan Document provides that the Board determines the members

of the Administrative Committee, and further provides that Board members and company officers

may serve on the Administrative Committee. On information and belief, the Board members

appointed themselves to serve as Administrative Committee members.

               Alternatively, if no Administrative Committee members were actually appointed

by the Board, the Plan Document further provides that the Board (acting for the Company at the

time) had all the powers, responsibilities and duties of the Administrative Committee.

               Accordingly, each of the Board Defendants had the powers and responsibilities

provided to the Administrative Committee in the ESOP Plan Document. These included the power

to direct the Co-Trustees whenever they were acting as “directed trustees” as set forth in the ESOP

Plan Document and in accordance with the provisions of ERISA § 403(a)(1), 29 U.S.C.

§ 1103(a)(1); the power and responsibility to manage the ESOP’s assets; the power and

responsibility to prepare and distribute account statements and relevant information about the

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ESOP to participants in compliance with ERISA; the power and responsibility to prepare, attest to

and file accurate and reliable annual reports for the ESOP with the Department of Labor; and

responsibility for all aspects of the administration of the Plan.

               At all relevant times, the Board Defendants also effectively controlled the ESOP

through Defendants Watson and Barrows, who were both Co-Trustees and Board members

themselves. This included but was not limited to the Board Defendants’ power to direct the Co-

Trustees Watson and Barrows concerning the 2012 Transaction and the power to direct them about

how to manage the ESOP’s assets.

               Based on the recent investigation of counsel, the Board Defendants instructed the

Co-Trustees concerning their actions in connection with the 2012 Transaction and directed them

about how to manage the ESOP’s assets.

                       b)      Charles Bidwill, III

               Defendant Charles Bidwill, III, a sports and gambling investor, was a founder and

former President of Casino Queen. Defendant Bidwill also was a member of the Board during the

relevant period. While a Board member, Defendant Bidwill sold his shares of CQ stock to the

ESOP for several millions of dollars.

                       c)      Timothy J. Rand

               Defendant Timothy J. Rand, an entrepreneur and business owner, was a founding

investor in Casino Queen and a member of the Board during the relevant period. While a Board

member, Defendant Rand sold his shares of CQ stock to the ESOP for several millions of dollars.

                       d)      James G. Koman

               Defendant James (“Jim”) G. Koman is the CEO of an investment firm focused on

commercial real estate development and was a member of the Board during the relevant period.


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Defendant Koman’s father was one of the original founding investors in Casino Queen. While

Defendant Koman was a Board member, he sold his shares of CQ stock to the ESOP for several

millions of dollars.

                       e)      Jeffrey Watson

               Defendant Jeffrey Watson was a member of the Board during the relevant period.

Defendant Watson served as the President of CQ Holding Co. from the time of the 2012

Transaction until on or around January 20, 2019. He also served as General Manager of the Casino

from 2012 to 2018, and General Counsel to the Casino from 2000 to 2018. On information and

belief, Defendant Watson lives in Belleville, Illinois.

               Defendant Watson also served as a Co-Trustee of the ESOP, alongside Defendant

Robert Barrows, after the 2012 Transaction until at least sometime in 2018. As Co-Trustee, Watson

was a directed trustee for the 2012 Transaction, but as a Board member he retained and exercised

fiduciary power over the Transaction. In addition, after the 2012 Transaction, as Co-Trustee,

Watson was a fiduciary to the ESOP under ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i)

because the ESOP Plan document gives the Trustee authority to hold and manage all assets of the

Trust Fund as a discretionary trustee.

                       f)      Robert Barrows

               Defendant Robert (“Bob”) Barrows was a member of the Board during the relevant

period. Further, Defendant Barrows served as the Chief Financial Officer of Casino Queen from

1993 until approximately 2017; served as Vice President, Secretary, and Treasurer of Casino

Queen Holding Co. from the time of the transaction until at least 2018. On information and belief,

Defendant Barrows lives in Edwardsville, Illinois.




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               Defendant Barrows also served as a Co-Trustee of the ESOP, alongside Defendant

Watson, after the 2012 Transaction until approximately 2018. As Co-Trustee, Barrows was a

directed trustee for the 2012 Transaction, but he nonetheless retained and exercised fiduciary

power over the Transaction as a Board member. In addition, after the 2012 Transaction, as Co-

Trustee, Barrows was a fiduciary to the ESOP under ERISA § 3(21)(A)(i), 29 U.S.C.

§ 1002(21)(A)(i) because the ESOP Plan document gives the Trustee authority to hold and manage

all assets of the Trust Fund as a discretionary trustee.

               (2)     The Selling Board Members

               As alleged above, Defendants Bidwill, Rand, and Koman reported to the U.S.

Securities and Exchange Commission in disclosures recently obtained by counsel, that they

collectively received $46,278,000 in proceeds from the 2012 Transaction.

               The Board Members who sold their shares of CQ stock to the ESOP during the

2012 Transaction are collectively referred to as the “Selling Board Members.”

               (3)     Administrative Committee Defendants John and Jane Does 11-20

               The Administrative Committee was and is a named fiduciary of the ESOP under

Article IX of the Plan Document and ERISA § 502(a), 29 U.S.C. § 1102(a).

               The Administrative Committee also was and is a fiduciary to the ESOP within the

meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), because it: (1) exercised discretionary

authority control respecting management of the ESOP; (2) exercised authority and control over the

ESOP’s assets; and/or (3) exercised discretionary authority or discretionary responsibility in the

administration of the ESOP. The Administrative Committee had the power to direct the Co-

Trustees in connection with the 2012 Transaction and other matters as set forth in the Plan




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document. The Administrative Committee also had general responsibility under the Plan document

for the administration of the trust and the management of trust assets.

                As alleged above, the Administrative Committee was appointed by the Board, and

the members of the Board served on the Administrative Committee.

                To the extent that the Board appointed members of the Administrative Committee

that are not Board members, those individuals are named as John and Jane Does 11-20. Once their

identities are ascertained, Plaintiffs will substitute their names.

                                           IV.     FACTS

         A.     Casino Queen

                Casino Queen opened in 1993 in East St. Louis, Illinois. At all relevant times,

Casino Queen has been a closely-held private corporation and its stock has not traded on any public

market or exchange.

                The casino brought over a thousand jobs to East St. Louis, and at least for a time, it

was one of the largest employers in a city which had struggled for decades with high rates of

unemployment and crime.

                Casino Queen was among the first casinos in the East St. Louis area when it opened

in 1993. However, over the next several years, numerous other casinos opened nearby, increasing

competition with Casino Queen and leading to declining revenues from 2007 to the present.

                Prior to the 2012 Transaction, the Casino Queen was owned by a group of private

investors, the Selling Shareholders, who attempted to sell the Casino Queen to a third-party

investor in 2006 for $200 million. That deal was unsuccessful and fell through in 2007.

                Thereafter, the Selling Shareholders “pitched” selling Casino Queen to numerous

prospective buyers who considered purchasing the casino and evaluated its business, including


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Delaware North, which operates casinos and gaming entities. However, the Selling Shareholders

were never able to complete the sale.

               After years of trying and failing to sell the Casino Queen to outside buyers, the

Selling Shareholders decided to create a new retirement plan for employees, the Casino Queen

ESOP, which would purchase the Company from the employees in a leveraged transaction

controlled by the Board Defendants, at least three of whom themselves were Selling Shareholders.

               Prior to the creation of the ESOP, Casino Queen employees were eligible to

participate in a non-ESOP retirement plan which offered a menu of funds such as equity funds,

target date funds, fixed income funds, and principal preservation funds from which they could

choose to invest their own contributions and contributions made by the Company on their behalf.

Shortly after the 2012 Transaction, the Company stopped making employer contributions to that

other retirement plan. Instead, the Company contributed solely to the ESOP which holds only

Casino Queen stock, a stock that lacks a public market.

               In October of 2012, the Selling Shareholders created a holding company, CQ

Holding Company, Inc. for Casino Queen, in order to facilitate the sale to the ESOP.

               Prior to the 2012 Transaction, Casino Queen had outstanding debt of approximately

$35 million.

               On December 26, 2012, the Board Defendants acting for CQ Holding Company,

Inc. (as the plan sponsor) established the ESOP to purchase 100% of the then-outstanding CQ

stock from the Selling Shareholders.

               During an Illinois Gaming Commission meeting a few days before the 2012

Transaction, Defendant Watson told the gaming board about how excited his employees were




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about the ESOP, though they had not been told about the ESOP at that time. Employee-participants

were not told about the 2012 Transaction until after it was completed on December 26, 2012.

               After the 2012 Transaction was completed, Defendant Watson held an employee

meeting to announce to that the newly created ESOP had purchased the Company from the Selling

Shareholders, including the Selling Board Members.

         B.    The Casino Queen ESOP

               At all relevant times, the ESOP was an “employee pension benefit plan” governed

by ERISA and was intended to constitute an “employee stock ownership plan” or “ESOP” within

the meaning of 29 U.S.C. § 1107(d)(6).

               The Plan covers eligible employees of Casino Queen Hotel & Casino in East St.

Louis, Illinois, and Casino Queen Marquette in Iowa. During the Class Period, the ESOP has had

between 512 and 631 participants.

               ERISA requires that every retirement plan, including the Casino Queen ESOP, “be

established and maintained pursuant to a written instrument. Such instrument shall provide for one

or more named fiduciaries who jointly or severally shall have authority to control and manage the

operation and administration of the plan.” See ERISA Section 402(a)(l), 29 U.S.C. § 1102(a)(1).

               ERISA § 402(a)(2), 29 U.S.C. § 1102(a)(2) clarifies that “For purposes of this

subchapter, the term “named fiduciary” means a fiduciary who is named in the plan instrument, or

who, pursuant to a procedure specified in the plan, is identified as a fiduciary (A) by a person who

is an employer or employee organization with respect to the plan or (B) by such an employer and

such an employee organization acting jointly.”

               Here, the written instrument is entitled the Casino Queen Employee Stock

Ownership Plan (the “Plan Document” or the “ESOP Plan Document”).ERISA also requires that


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every retirement plan, including the Casino Queen ESOP, have one or more “trustees [who] shall

have exclusive authority and discretion to manage and control the assets of the plan, except to the

extent that—(1) the plan expressly provides that the trustee or trustees are subject to the direction

of a named fiduciary who is not a trustee, in which case the trustees shall be subject to proper

directions of such fiduciary which are made in accordance with the terms of the plan and which

are not contrary to this chapter [of ERISA.]” ERISA § 403(a)(l), 29 U.S.C. § 1103(a)(1).

                Based on the Plan Document, here the Administrative Committee and its members,

the Co-Trustees of the ESOP, and the Board Defendants were all “named fiduciaries” within the

meaning of ERISA § 402(a)(2), 29 U.S.C. § 1103(a)(2).

         C.     The 2012 Transaction

                The Board Defendants, including the Selling Board Members, orchestrated and

caused the sale of CQ stock to the ESOP in the 2012 Transaction to enrich themselves at the

expense of the retirement security of the Casino Queen ESOP participants.

                Specifically, the Board Defendants (acting directly and/or through the

Administrative Committee and Co-Trustees) caused the ESOP to pay the Selling Board Members

significantly more than fair market value for the CQ stock purchased from them. This allowed the

Sellers – many of whom were Board members or their family members – to obtain ill-gotten gains

and profits through the 2012 Transaction.

                The Board Defendants appointed two of themselves to be Co-Trustees to the ESOP

at all relevant times, including during the ESOP’s purchase of CQ stock from the Selling

Shareholders.




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               The Board Defendants’ power to hire and fire the ESOP Trustee(s) created a

conflict because the Trustee(s) were incentivized to act in the best interests of the Board rather

than the employees who participated in the ESOP.

               Indeed, based on the recent investigation of counsel, the Board Defendants up until

the Transaction was completed, directed the Co-Trustees in the 2012 Transaction (either directly

or through the Administrative Committee) and thereby exercised fiduciary control over the

Transaction.

                The ESOP Plan Document confirms this, as it provides that the “Trustee shall be a

directed trustee with respect to the initial purchase of Stock by the Trust and related transactions

occurring contemporaneously therewith in accordance with the provisions of ERISA Section

403(a)(l). When acting as a directed trustee, the Trustee shall follow all proper directions received

from the Sponsor, an investment manager or any other named fiduciary which are made in

accordance with the terms and provisions of the Plan and this Trust Agreement and which are not

contrary to ERISA.” (emphasis added).

               The Board Defendants were responsible for the actions of both the Company (as

“Sponsor”) prior to the Transaction and the Administrative Committee (a “named fiduciary”), and

had the power to direct the directed trustees in connection with the 2012 Transaction. As such, the

Board Defendants had fiduciary responsibility for the 2012 Transaction under ERISA. Likewise,

the Administrative Committee on which they served had such fiduciary responsibility.

               Because the Board Defendants and Administrative Committee directed the Trustees

“with respect to the initial purchase of” CQ stock, and because of their power over the ESOP

Trustees, the Board Defendants and Administrative Committee caused the ESOP to purchase the

CQ stock for at least $170 million, which was greater than fair market value.


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               As alleged above, Defendants Watson and Barrows, in addition to serving as Board

members and Co-Trustees, simultaneously held high-level management positions at Casino Queen

during the relevant period.

               The 2012 Transaction was announced to employees only after it was completed; at

that time, employees were told that the Casino had been sold to the ESOP for $170 million, but

that the Casino was actually worth $174 million. Employees were not told how many shares the

ESOP was purchasing for $170 million and thus, the employees did not know the per share price

the ESOP paid for CQ stock.

               To this day, Plaintiffs do not know the share price of the stock purchased in the

2012 Transaction.

               Further, Plaintiffs were not provided with a copy of the valuation report, nor have

they ever had access to the valuation report underlying the 2012 Transaction price paid by the

ESOP.

               At the same meeting, ESOP participants were told that, because they had become

owners of the Company, they would have enough money to purchase vacation homes.

               Employees were also told that, as the new owners of the Company, they would get

to vote on any transaction entered into by Casino Queen that was greater than three million dollars.

This did not happen.

               As described in further detail below, in 2013 the Company sold its real property for

$140 million. The Company also later acquired a small casino in Iowa (the subsequently renamed

Casino Queen Marquette) for $40 million. The employees were not permitted to vote on either of

those transactions.




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               On December 27, 2012, the Company reported publicly that “[t]he ESOP will

effectively create an enhanced retirement benefits plan tied to the performance of the Property and

provide liquidity for employees when they retire or leave the Company. The private nature of the

ESOP permits management to focus on strategies for the long-term benefit of the Company and

creation of wealth for its employees.” However, the 2012 Transaction did not enhance employees’

retirement benefits or provide them with a long-term benefit. The chief beneficiaries of the 2012

Transaction were the Selling Shareholders.

               Defendants knew that the Company was not worth the $170 million the ESOP paid

for it because the Selling Board Members had tried for years to sell the Company and were not

able to find a third-party buyer to pay $170 million.

               Defendants also knew or should have known that the valuation report used to justify

a $170 million purchase price was based on unreliable and unrealistic financial projections of the

Company’s future earnings and cash flows. They also knew or should have known that Casino

Queen’s revenues had dropped significantly for years due to Casino Queen’s market share

decreasing and that the Company had struggled since 2007 as the number of competitors grew.

               Casino Queen’s long-term financial prospects were also diminished by an Illinois

smoking ban and St. Louis’s removal of its $500 loss limit rule, which removed an edge Illinois

casinos had previously enjoyed over competitors across the river.

               Further, the Casino Queen was more limited in its ability to attract customers

compared to its competitor casinos that were part of gaming giants.

               Despite knowledge that all of the above problems facing Casino Queen indicated

that it was not worth the $170 million the ESOP paid for the Company, the Board Defendants and




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Administrative Committee instructed the Co-Trustees to arrange and complete the 2012

Transaction. 2

                 Because the Board Defendants and Administrative Committee had the power to

direct the Co-Trustees during the 2012 Transaction, they should have directed the Co-Trustees to

not complete the 2012 Transaction, which they knew or should have known was not prudent or in

the best interest of the ESOP participants. Further, the Co-Trustees independently knew or should

have known that it was not prudent or in the best interest of participants to proceed with the 2012

Transaction, and therefore should not have authorized the 2012 Transaction regardless of the

direction that they received.

                 The Board Defendants, Administrative Committee, and Co-Trustees also knew or

should have known that it was imprudent and not in the participants’ best interest to have the ESOP

borrow all of the money necessary to complete the 2012 Transaction.

                 According to governmental filings, the Company guaranteed all of the debt the

ESOP took out to complete the Transaction. Because it was the guarantor, the Company had to

classify the ESOP’s debt on its balance sheet, which deeply burdened the small Company with

debt and cannibalized the common equity owned by the ESOP.

                 Further, as guarantor, the Company was and continues to be obligated to make cash

contributions to the ESOP sufficient to cover the loan payments due in a given year, which resulted

in a significant cash drain on the Company. These required cash contributions, which service the




2
 Even if the Board Defendants did not directly instruct the Co-Trustees to consummate the 2012
Transaction, they effectively exercised power over the Co-Trustees’ decision-making through the
Administrative Committee, and also because the Board had hiring and firing power over the Co-
Trustees, who were themselves Board Members.


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ESOP’s debt, significantly impaired the Company’s cash flows and earnings after the 2012

Transaction.

               The real beneficiaries of the 2012 Transaction and ESOP loan were not the ESOP

participants, but rather the Selling Shareholders. In filings that Plaintiffs’ counsel recently

obtained from the U.S. Securities and Exchange Commission, it was disclosed that the Selling

Board Members – Defendants Bidwill, Rand and Koman – pocketed $46.3 million in cash

immediately through the 2012 Transaction and were owed millions more by the ESOP as they

financed a large portion of the ESOP’s $170 million Transaction debt.

               The Board Defendants – at least three of whom had a manifest conflict as the sellers

of CQ stock to the ESOP – caused the imprudent and disloyal 2012 Transaction where the ESOP

overpaid for CQ stock and overleveraged itself and the Company the ESOP purchased.

               The Board Defendants also failed to monitor the Co-Trustees during the 2012

Transaction to ensure that the ESOP did not pay greater than fair market value for the Company.

               The Co-Trustees who approved the 2012 Transaction at the behest of the Board and

the Administrative Committee did so based on inaccurate and unrealistic information concerning

the financial viability of the Company, including the Company’s financial projections for future

cash flow, which were used to justify the $170 million purchase price.

               The Board Defendants failed to ensure that the Co-Trustees who approved the 2012

Transaction received all information necessary for them to fulfill their fiduciary duties, including

facts related to their many unsuccessful attempts to sell Casino Queen to a third-party buyer.

               The Co-Trustees knew or should have known and that the cash flow problems

created by the $170 million Transaction debt taken on by both the ESOP and the Company as

guarantor were not prudent and in the best interest of the ESOP participants.


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               Ultimately, the 2012 Transaction was designed and executed to benefit the Selling

Board Members and their families, who profited handsomely from it. The Board Defendants’

ERISA violations significantly harmed the participants in the ESOP, which all along was a house

of cards that toppled after the Board Defendants could no longer conceal their scheme.

               Further, as described in detail below, Defendants concealed relevant information

from the ESOP participants and the Department of Labor in publicly available filings for the ESOP

from the 2012 Transaction until October 2019.


         D.    Following the 2012 Transaction, the Board Members and Co-Trustees
               Violated ERISA by Approving a Deal that was Imprudent and Disloyal.

               Pursuant to the Plan Document, the Co-Trustees have the power to vote unallocated

shares of CQ stock, which has been the majority of CQ shares since the 2012 Transaction. The

Co-Trustees, therefore, at all relevant times were able to vote an absolute majority of all

outstanding shares.

               Among other things, the Co-Trustees, who were themselves Board Defendants, had

the power to “vote” to continue to re-elect themselves and the other members to the Company’s

Board. The relationship between the Board Defendants and the Co-Trustees therefore was deeply

conflicted and self-perpetuating.

               In 2013, the Co-Trustees, selected by the Board members, voted to approve a

transaction which sold substantially all of the Company’s real property to Gaming and Leisure

Properties (“GLPI”) and refinanced all the ESOP’s debt owed to the Selling Shareholders, which

were loans guaranteed by the Company. This transaction is referred to hereinafter as the “Asset

Sale.”

               As part of this Asset Sale, the Co-Trustees (appointed by the Board), caused all of

the debt related to the 2012 Transaction to be refinanced. Through this refinancing, the Selling
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Board Members and Shareholders were able to cash out their remaining profits from the 2012

Transaction. However, the refinancing was based on unfavorable financial terms for the ESOP and

the Company. 3

                 For example, the Asset Sale required the Company to transfer ownership over all

of the Company’s primary assets – its land, hotel, casino, and an RV park – to GLPI for $140

million.

                 But the Company agreed to lease the sold property back from GLPI for

approximately $14 million per year, over a 15-year term. Thus, over the full term of the lease, the

Company agreed to pay $210 million in rent for property it sold for only $140 million.

                 In contrast to the $14 million annual rent bill, the real property sold to GLPI had a

tax-assessed total value of about $12.1 million dollars.

                 As part of the lease agreement, the Company also agreed to pay all property

expenses, including property taxes, insurance, and maintenance of the property, and utilities, in

addition to rent, in an arrangement known as a “triple net lease.”

                 The Company has paid $14 million annually in rent, plus all property expenses from

2013 to the present, for real property independently valued at just $12.1 million. GLPI continues

to list Casino Queen as a tenant on its website.

                 GLPI agreed to provide Casino Queen with a new $43 million term loan, which

allowed the Selling Board Members to monetize the remainder of their Seller gains from the 2012

Transaction because it provided the Company (and hence the ESOP) with cash to pay off all of the

ESOP’s outstanding loans owed to the Selling Board Members.



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      The Company took on a new $43 million loan from GLPI which had a five-year maturity
and an interest rate of 7%.

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                In other words, because the Asset Sale refinanced the Company and ESOP’s then-

existing loans (some of which were owed to the Selling Shareholders), the refinancing of corporate

and ESOP debt to GLPI as the new lender allowed the Selling Shareholders to cash out their

remaining profits from the 2012 Transaction.

                In a statement regarding the Asset Sale, Defendant Watson said that “[t]his

transaction offers us the opportunity to reorganize our capital structure, with a long-term solution

that provides stability for our employee-owners. Further, by unlocking the value in our real estate

assets, we are able to focus on efficiently operating our business in a less restrictive, asset-lite

environment.”

                The Company needed this “long-term solution” precisely because the ESOP

purchased the Company for greater than fair market value and the Company was forced to

guarantee the ESOP’s $170 million Transaction debt. At the time of the 2012 Transaction, the

ESOP had no assets and no credit. Following the Transaction, the ESOP subsequently had no way

to service the debt long term, necessitating the Asset Sale – which sold off the primary assets of

the Company the ESOP had purchased less than a year earlier.

                Pursuant to the Plan Document, major decisions of the Company require a

shareholder vote; such decisions include refinancing of the Company’s debt or the sale of a

substantial proportion of the Company’s assets. Thus, in order to complete the Asset Sale, Co-

Trustees Watson and Barrows had to approve the Asset Sale and the restructuring of the

Company’s debt because they had the power to vote the majority of all outstanding CQ stock as

of 2013.




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               The Board Defendants knowingly participated in the Asset Sale and the refinancing

of the Company’s Transaction debt. In so doing, the Selling Board Members were conflicted

because they stood to gain from the accelerated payoff of the ESOP loans owed to them.

               The disloyal and imprudent actions of the Board members, including Watson and

Barrows in connection with the Asset Sale used to refinance the Company’s Transaction debt,

caused the value of the Company stock held in participants’ ESOP accounts to be further impaired.

               According to a 2012 news article recently discovered by counsel, the Selling Board

Members planned to remain on the Casino Queen Board until the loans they made to the ESOP

were paid in full, which was estimated to be three to five years.

               Based on the news articles and governmental filings recently discovered by

counsel, the Selling Board Members expedited their payout on the debt the ESOP owed them from

the 2012 Transaction by arranging the Asset Sale and related debt refinancing, through Watson

and Barrows who voted to approve them.

               The Asset Sale that was used to refinance the Transaction debt left Casino Queen

as a shell of a company that did not own any real property assets and which did not have sufficient

cash flow to service its remaining debts.

               But by 2014, this was no longer the concern of Defendants Bidwill, Rand, and

Koman as they succeeded in having the portion of the Transaction loans owed to them fully repaid.

               Shortly after they were paid in full for the Company that the ESOP was forced to

purchase (indeed, at an inflated price), Defendants Bidwill, Rand, and Koman relinquished their

Board memberships.




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         E.    ESOP Fiduciaries Concealed the Violations of ERISA By Inaccurately
               Reporting the Price the ESOP Paid for the Company and Misrepresenting the
               Stock Value as Increasing from 2012 - 2019.

               Plaintiffs were unaware of the material facts relating to the fiduciary breaches and

prohibited transactions set forth herein until at least October 2019 because Defendants engaged in

a pattern of fraud and/or concealment of material facts concerning the 2012 Transaction and the

Asset Sale. Despite their exercise of reasonable due diligence, Plaintiffs did not know nor could

they have known of Defendants’ violations of ERISA, because Defendants made several

misstatements of material of fact concerning the 2012 Transaction and the Asset Sale to conceal

evidence of their wrongdoing.


               (1)    Statements to Employee Participants During Meetings About the
                      ESOP

               First, Plaintiffs attended Company meetings about the ESOP, wherein the Co-

Trustees repeatedly told employees/participants that the ESOP would provide significant

retirement savings and even create wealth for participants. For example, at one meeting employees

were told by Company management that they would be able to purchase second homes with the

money they would earn as employee-owners of Casino Queen.

               Employees also were told that they could look forward to making the equivalent of

nearly their entire salary through the ESOP.

               Even as late as mid-2018, when Plaintiff Gill left Casino Queen for what he

believed were better employment opportunities elsewhere, Company management told Gill that

he was making a big mistake by moving to another casino, because Casino Queen’s ESOP was a

unique opportunity that would provide “the best retirement you’ll ever have.”




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               (2)     Annual Form 5500s Filed with the Department of Labor

               Second, Defendants concealed that the ESOP overpaid for CQ stock and took on

imprudent levels of debt by misreporting the purchase price the ESOP paid and the amount of debt

acquired to complete the Transaction in the ESOP’s required annual filings with the Department

of Labor (“DOL”).

               CQ Holding Company, as the sponsor of the ESOP, was required to file financial

reports disclosing information regarding the ESOP’s financial condition, including its assets,

liabilities, and income on an annual basis.

               The Board Defendants, as members of the Administrative Committee or acting for

the Company as the Plan Administrator, prepared and caused to be filed with DOL the ESOP’s

Form 5500s. Each of these governmental filings are signed by a Casino Queen executive who

swears to the truth, completeness, and correctness of the report under penalties of perjury.

               The Form 5500s filed for plan years 2012, 2013 and 2014 were signed by Defendant

Barrows, and the Form 5500s filed after that were signed by William Vandersand.

               The ESOP repeatedly misrepresented the price it paid for CQ stock in each Form

5500 filed during the relevant time (2012-2019), though the misrepresentations were not

consistent.

               The ESOP’s 2012 Form 5500 is only 11 pages long, and does not include any

accounting statement or notes describing the 2012 Transaction.

               The 5500 filings for 2012, as well as 2013, 2014, 2015 and 2016, stated that the

ESOP’s cost of purchase for the CQ stock was only $4 million, and that the ESOP took out $4

million of debt for the purchase.




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              However, the 2017 Form 5500 stated that the ESOP’s cost of purchase for the CQ

stock was less – $3,898,388 – and that the ESOP took out $3,898,388 in debt for the purchase.

              The 2018 5500 filing stated that the ESOP’s cost of purchase for the CQ stock was

even less – $3,885,302 – and that the ESOP took out $3,885,302 in debt for the purchase.

              In contrast, the Form D which Defendant Watson filed in January 2013 with the

U.S. Securities and Exchange Commission on behalf of CQ Holding Company, Inc., stated that

the purchase price of the CQ stock was $175 million. However, the Form D did not disclose how

much of the purchase price was borrowed.

              None of the ESOP’s governmental filings state the per share price paid by the ESOP

for CQ stock in the 2012 Transaction.

              The Form 5500s reported that the value of CQ stock consistently went up in the

years following the 2012 Transaction, then abruptly lost about 95% of its value in 2018, as shown

in Table 1, below.




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                                                Table 1

        Date of        Cost of CQ stock     Value of CQ stock       Valuation Date        Yr over Yr
      Disclosure         as reported           as reported                               Gain or Loss
      10/14/2013         $4,000,000            $5,400,000             12/31/2012             35%

      10/15/2014          $4,000,000           $28,294,972            12/31/2013             424%

      10/15/2015          $4,000,000           $30,914,969            12/31/2014              9%

      10/14/2016          $4,000,000           $33,189,967            12/31/2015              7%

       9/20/2017          $4,000,000           $48,962,106            12/31/2016             48%

      10/10/2018          $3,898,388           $53,169,149            12/31/2017              9%

     Oct. 15, 2019        $3,885,302            $2,792,561            12/31/2018             -95%

  Source: Casino Queen ESOP Form 5500s filed between 2013 and 2019.



               Immediately following the 2012 Transaction, the ESOP reported having

approximately $5,400,000 in assets, just weeks after the ESOP purchased the Company stock for

a reported $4 million. This indicates a 35% increase in the value of CQ stock.

               The reported CQ stock value continued to rise every year thereafter until

plummeting in 2018, as shown in Table 1.

               The reported increases were sometimes astronomical, such as in 2013 when the

stock value was reported to have increased by 424% in a single year

               The reported growth in value in the period prior to 2018 did not reflect reality, as

the ESOP fiduciaries never reported to DOL the true sale price of the Company stock at the time

of the 2012 Transaction, nor the approximately $170 million in debt that the ESOP acquired to

purchase that stock.



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               The information provided in the Form 5500s was intended to conceal, and did

conceal, that the ESOP overpaid for CQ stock in the 2012 Transaction.

               It was not until October 15, 2019, when the Company filed its 2018 Form 5500

with the DOL—after all the Board Defendants involved in the 2012 Transaction had left their

positions as Board Members and Trustees—that the ESOP fiduciaries disclosed the true value of

Company stock.

               In the DOL filing dated October 15, 2019, the ESOP disclosed for the first time that

there was “substantial doubt [about CQ Holding Company’s] ability, and therefore the [ESOP’s]

ability, to continue as a going concern beyond one year from issuance of these financial statements.

The [ESOP] may be unable to realize its assets and discharge its liabilities in the normal course of

business.”

               The ESOP also disclosed for the first time in its Form 5500 for Plan year 2018 (filed

on October of 2019) that the Company “has not been in compliance with certain debt covenants

since December 31, 2017.”


               (3)     Annual Participant Statements

               Third, as part of their efforts to conceal their ERISA violations and to defraud ESOP

participants into believing their CQ stock was fine, the Defendants misrepresented to participants

that the value of the Casino Queen stock held in their individual ESOP accounts was growing.

               The Board Defendants, as members of the Administrative Committee or acting for

the Company as the Plan Administrator, prepared and disseminated to ESOP participants annual

account balance statement misrepresenting to them that their CQ stock was increasing in value

every year between 2013 and 2017, sometimes by as much as 50% in one year.



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                  Table 2 shows the value per share of CQ stock that was disclosed to participants in

account statements provided to them from 2014 until 2019.

                                               Table 2

      Date of Disclosure              Valuation           Stock Value Per          Increase or
                                        Date                   Share            Decrease in Value

         Not Disclosed             Transaction Date         Not Disclosed               ---

         June 30, 2014                12/31/2013               $ 56.59                  ---

             Oct 9, 2015              12/31/2014               $ 61.83                  9%

        [date unknown]                12/31/2015               $ 66.38                  7%

        [date unknown]                12/31/2016               $ 99.43                 50%

         June 27, 2018                12/312017                $ 109.11                10%

         Oct. 15, 2019                12/31/2018                $ 5.75                 -95%

 Source: Account statements sent to ESOP participants six months after year end.



                  As shown above, even though the Company had not been in compliance with its

debt covenants since 2017 (a fact concealed from participants and the DOL until 2019), Defendants

reported to Plaintiffs and all ESOP participants on 12/31/2017 that their CQ stock had grown in

value by 10%.

                  In October 2019, the participants in the Casino Queen ESOP received their account

balance statements which were current as of December 31, 2018. These statements disclosed that

the value of CQ stock held in the participants’ individual accounts had fallen from $109.11 per

share as of 12/31/2017 to $5.75 per share as of 12/31/2018 – losing 95% of its value in one year.




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               These October 2019 statements were accompanied by a letter from Terry Hanger,

the new President of Casino Queen. The letter stated that “[t]he value of our ESOP has declined

significantly from 2017,” and attributed the decline to “the fact that our annual profit fell by nearly

60% between 2016 and 2018 and has continued to slide significantly into 2019.”

               Company management stated that the 95% drop in the value of CQ stock occurred

because business levels decreased over the years; however, employees who were working at the

Casino, including in managerial positions, observed that the business levels at Casino Queen had

not decreased dramatically from 2016 to 2018.

               Plaintiffs have never known, and still do not know, how many shares the ESOP

purchased or how much the ESOP paid per share for Casino Queen stock in the Transaction.

               Because Plaintiffs and the other ESOP participants were not privy to the

methodology the Company used to make its annual valuation of Company stock, and because

Plaintiffs and other ESOP participants had no knowledge of the initial share price paid for the

acquisition of Company stock, it was impossible for them to independently evaluate the accuracy

of the reported share value and its annual growth.

               Plaintiffs exercised reasonable due diligence by reviewing their annual account

balances and attending employee meetings concerning the ESOP. Both of these sources of

information – which were the only sources readily available to Plaintiffs – indicated that

participants’ ESOP accounts of were growing rapidly. Thus, because Defendants actively

concealed material facts from all ESOP participants, Plaintiffs did not discover that the ESOP

overpaid for CQ stock until October 2019.

               The vast majority of the facts alleged herein were discovered by counsel for

Plaintiffs through counsel’s recent investigation and discussions with employees of Casino Queen.


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               An employee characterized the illusion of wealth creation through employee-

ownership ESOP as something that felt like “a set-up and the set-up worked perfectly.”

               Because Defendants were aware: (i) of the financial difficulties of Casino Queen;

(ii) that the Selling Shareholders were unable to sell the Company to a third party buyer after years

of trying; (iii) that the ESOP paid an inflated price for CQ stock in the 2012 Transaction; and (iv)

that the Asset Sale used to refinance the Transaction was not in the best interest of the ESOP, the

statements and disclosures made to ESOP participants from 2012 until the October of 2019

concealed the many ERISA violations alleged herein.

               Defendants took acts to conceal their breaches of fiduciary duty by concealing and

misrepresenting material facts. Indeed, because of their actions to conceal their ERISA violations,

Defendants were able to “avoid detection” and hide those violations from participants, despite the

diligent efforts by Plaintiffs to review their account statements and obtain available information

concerning their ESOP accounts.

               Accordingly, the statute of limitations for all claims alleged herein, which relate to

the facts and ERISA violations that Defendants concealed from participants and the DOL, runs

from October 2019, which is the earliest that Plaintiffs discovered or could have discovered those

ERISA violations.


                                 V.      CLASS ALLEGATIONS


               Plaintiffs bring these claims as a class action pursuant to Rule 23(a) and (b) of the

Federal Rules of Civil Procedure, on behalf of the following class: 4




     4
      Plaintiffs reserve the right to revise their class definition, and to propose other or additional
classes in subsequent pleadings or his motion for class certification, after discovery in this action.

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         All participants in the Casino Queen ESOP who vested under the terms of the Plan,
         and those participants’ beneficiaries, excluding Defendants and their immediate
         family members; any fiduciary of the ESOP; the officers and directors of CQ
         Holding Company, Inc. or of any other entity in which a Defendant has a
         controlling interest; and legal representatives, successors, and assigns of any such
         excluded persons.

                Numerosity. The members of the Class are so numerous that joinder of all

members is impracticable. According to the 2018 Form 5500 filed with the Department of Labor,

which is the most recent available Form 5500, as of December 31, 2018, there were 620

participants in the ESOP.

                Commonality. The issues of liability are common to all members of the Class and

are capable of common answers as those issues primarily focus on Defendants’ acts (or failure to

act). Questions of law and fact common to the Class as a whole include, but are not limited to, the

following:


         (a)    Whether Defendants caused the Plan to engage in prohibited transactions under
                ERISA;

         (b)    Whether the Board Defendants and/or Administrative Committee had the power to
                direct the Co-Trustees in connection with the ESOP’s purchase of CQ Stock in the
                2012 Transaction;

         (c)    Whether the Board Defendants and/or Administrative Committee directed the Co-
                Trustees in connection with the ESOP’s purchase of CQ Stock in the 2012
                Transaction

         (d)    Whether the Board Defendants breached their fiduciary duties by failing to
                adequately monitor the Co-Trustees or any other fiduciary who approved the 2012
                Transaction;

         (e)    Whether the Co-Trustees, as directed trustees, breached their fiduciary duties to
                ESOP participants by following the direction to complete the ESOP’s purchase of
                CQ Stock for more than fair market value;

         (f)    Whether refinancing the ESOP’s debt through the Asset Sale was in the
                participants’ best interest and constituted prohibited transactions;

         (g)    Whether Defendants took acts to conceal their unlawful conduct and the true
                purchase price and value of the Company;


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         (h)    The amount of losses suffered by the ESOP as a result of Defendants’ unlawful
                conduct;

         (i)    The amount of profits that accrued to the Selling Board Members as a result of the
                unlawful conduct described herein; and

         (j)    The proper form of equitable and injunctive relief, and other remedial relief.


                Typicality. Plaintiffs’ claims are typical of those of the Class because (among other

things): (a) they were employed by CQ and was a participant in the ESOP; (b) to the extent that

Plaintiffs seek relief on behalf of the Plan pursuant to § 502(a)(2) of ERISA, their claims are not

only typical of, but the same as, a claim under § 502(a)(2) brought by any other Class Member;

(c) to the extent that Plaintiffs seek equitable relief, that relief would affect all Class Members

equally; and (d) all of the Class members were injured and continue to be injured in the same

manner based on the unlawful conduct alleged herein.

                Adequacy. Plaintiffs will fairly and adequately represent and protect the interests

of the Class and are committed to the vigorous representation of the Class. Plaintiffs’ retained

counsel, Cohen Milstein Sellers and Toll PLLC (“Cohen Milstein”) and Nichols Kaster, PLLP

(“Nichols Kaster”), are experienced in class action and ERISA litigation, and Plaintiffs have no

interests antagonistic to or in conflict with the interests of the Class.

                Rule 23(b)(1)(A). Class certification is appropriate pursuant to Fed. R. Civ. P.

23(b)(1)(A). Fiduciaries of ERISA-covered plans have a legal obligation to act consistently with

respect to all similarly situated participants and to act in the best interests of the ESOP and its

participants. This action challenges whether Defendants acted consistently with their fiduciary

duties or otherwise violated ERISA as to the Casino Queen ESOP as a whole. As a result,

prosecution of separate actions by individual members would create the risk of inconsistent or




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varying adjudications that would establish incompatible standards of conduct for Defendants

relating to the ESOP.

               Rule 23(b)(1)(B). Class certification is also appropriate pursuant to Fed. R. Civ. P.

23(b)(1)(B).   Administration of an ERISA-covered plan requires that all similarly situated

participants be treated the same. Resolving whether Defendants breached their fiduciary

obligations to the ESOP and engaged in prohibited transactions with respect to the Plan would, as

a practical matter, be dispositive of the interests of the other participants in the ESOP even if they

and would substantially impair or impede their ability to protect their interests if they are not made

parties to this litigation by being included in the Class. Further, the relief granted by the Court,

including any equitable relief, injunctive relief, or accounting of profits, may be dispositive of the

interests of other class members.

               Rule 23(b)(2). Additionally and alternatively, class certification is appropriate

pursuant to Fed. R. Civ. P. 23(b)(2) because Defendants have acted or refused to act on grounds

generally applicable to the Class, making appropriate declaratory and injunctive relief with respect

to Plaintiffs and the Class as a whole. This action challenges whether Defendants acted consistently

with their fiduciary duties or otherwise violated ERISA as to the ESOP as a whole. The members

of the Class are entitled to declaratory and injunctive relief to remedy Defendants’ fiduciary

violations. As ERISA is based on trust law, any monetary relief consists of equitable monetary

relief and is either provided directly by the declaratory or injunctive relief or flows as a necessary

consequence of that relief.

               Rule 23(b)(3). Additionally and alternatively, class certification is appropriate

pursuant to Fed. R. Civ. P. 23(b)(3) because questions of law and fact common to all Class

members predominate over any questions affecting individual members of the Class, and because


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a class action is superior to other available methods for the fair and efficient adjudication of this

action. Common questions related to liability will necessarily predominate over any individual

questions because Defendants’ duties and obligations were uniform to all participants and

therefore all members of the Class. Plaintiffs and all Class members have been harmed by the

unlawful conduct alleged herein. As relief and any recovery will be on behalf of the Plan, common

questions as to remedies will likewise predominate over any individual issues.

                A class action is a superior method to other available methods for the fair and

efficient adjudication of this action. As the claims are brought on behalf of the ESOP, resolution

of the issues in this litigation will be efficiently resolved in a single proceeding rather than multiple

proceedings. The losses suffered by individual Class members are small compared to the expense

and burden of individual prosecution of this action. In addition, class certification is superior

because it will obviate the need for unduly duplicative litigation which might result in inconsistent

judgments about Defendants’ duties with regard to the ESOP.

                In addition, the following factors also favor certification of this case as a class

action:

          •     No other litigation concerning this controversy has been filed by any other
                members of the Class; and

          •     The names and addresses of the Class members are available from the ESOP, and
                notice will be provided to all Class members to the extent required by Rule 23.


                                   VI.     CAUSES OF ACTION

                                            Count I
          Prohibited Transactions in Violation of ERISA § 406(a), 29 U.S.C. §§ 1106(a)
              (Against All Defendants in Connection With the 2012 Transaction)

                Plaintiffs incorporate the preceding paragraphs as though set forth herein.




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                ERISA § 406(a)(1), 29 U.S.C. § 1106(a)(1), requires that a plan fiduciary “shall not

cause the plan to engage in a transaction, if he knows or should know that such transaction

constitutes a direct or indirect (A) sale or exchange, or leasing of any property between the plan

and a party in interest,” or a “(D) transfer to, or use by or for the benefit of, a party in interest, of

any assets of the plan.”

                ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B), requires that a plan fiduciary

shall not cause the plan to engage in a transaction, if he knows or should know that such transaction

constitutes the direct or indirect loan of money between the plan and a party in interest.

                ERISA § 3(14), 29 U.S.C. § 1002(14) defines a “party in interest” to include, inter

alia:

         •      “any fiduciary … of such employee benefit plan”;

         •      “an employer any of whose employees are covered by such plan [the ESOP]”; or

         •      “an employee, officer or director … or a 10 percent or more shareholder” of an
                employer whose employees are covered by the ESOP.

         •      “a relative (as defined in paragraph (15)) of any individual described in
                subparagraph (A), (B), (C), or (E)[.]”

29 U.S.C. § 1002(14)(A), (C), (H), and (F).


                As alleged above, each of the Defendants were fiduciaries of the Casino Queen

ESOP before and at the time of the 2012 Transaction.

                Because each of the Selling Shareholders was a member of the Board of Directors

of the Company, a 10% or more shareholder, and/or a family member of Board member or 10%

shareholder, each of them was a party in interest to the ESOP within the meaning of ERISA §

3(14), 29 U.S.C. § 1002(14).

                The ESOP’s purchase of all outstanding CQ stock from the Selling Shareholders,

each of whom was a party in interest to the ESOP, constituted an exchange of property between

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the ESOP and the Selling Shareholders in violation of ERISA § 406(a)(1)(A), 29 U.S.C. §

1106(a)(1)(A), as well as a transfer of the ESOP assets to the Selling Shareholders in violation of

ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).

               The ESOP’s Transaction loans from the Selling Shareholders also constituted

prohibited transactions in violation of ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B).

               Further, each individual payment to the Selling Shareholders by the ESOP in

connection with the Transaction loans constituted another exchange of property between the ESOP

and the Selling Shareholders in violation of ERISA § 406(a)(1)(A), 29 U.S.C. § 1106(a)(1)(A), as

well as a transfer of the ESOP assets to the Selling Shareholders in violation of ERISA

§ 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).

               The Board Defendants, acting in their capacity as the Administrative Committee

who directed the Co-Trustees in the Transaction, improperly caused the prohibited transactions set

forth herein. By virtue of the foregoing, the Board Defendants and the Administrative Committee

Defendants violated ERISA §§ 406(a)(1)(A), (B) and (D), 29 U.S.C. §§ 1106(a)(1)(A), (B) and

(D).

               Further, Defendants Watson and Barrows, acting in their capacity as directed

trustees, completed the ESOP’s purchase of CQ stock for greater than fair market value at the

direction of the other Board Defendants despite their knowledge that the 2012 Transaction violated

ERISA’s prohibited transaction rules.

               These prohibited transactions caused losses to the Plan and enriched the Selling

Board Members.




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                  The Defendants are liable for appropriate relief under ERISA § 409, 29 U.S.C. §

1109, and ERISA §§ 502(a)(2) and (3), 29 U.S.C. §§ 1132(a)(2) and (3), for these prohibited

transactions.


                                              Count II
                 Self-Dealing in Violation of ERISA § 406(b), 29 U.S.C. §§ 1106(b)
             (Against Selling Board Members in Connection with the 2012 Transaction)

                  Plaintiffs incorporate the preceding paragraphs as though set forth herein.

                  As alleged above, the Selling Board Members were fiduciaries of the Casino Queen

ESOP before, during and after the 2012 Transaction.

                  ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1), prohibits a fiduciary from “deal[ing]

with the assets of the plan in his own interest or for his own account[.]” 29 U.S.C. § 1106(b)(1).

                  The Selling Board Members orchestrated and caused the sale of CQ stock to the

ESOP in the 2012 Transaction to enrich themselves and dealt with ESOP assets in their own

interest within the meaning of ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1).

                  These prohibited transactions caused losses to the Plan and enriched the Selling

Board Members.

                  The Selling Board Members are liable for appropriate relief under ERISA § 409,

29 U.S.C. § 1109, and ERISA §§ 502(a)(2) and (3), 29 U.S.C. §§ 1132(a)(2) and (3), for these

prohibited transactions.


                                            Count III
                Breach of Fiduciary Duties Under ERISA §§ 404(a)(1)(A) and (B),
                                29 U.S.C. §§ 1104(a)(1)(A) and (B)
                (Against All Defendants in Connection With the 2012 Transaction)

                  Plaintiffs incorporate the preceding paragraphs as though set forth herein.




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               From before the 2012 Transaction until after it was completed, all Defendants were

members of the Board and Administrative Committee. As such, pursuant to ERISA § 3(21)(A), 29

U.S.C. § 1002(21)(A), they were ESOP fiduciaries responsible for the 2012 Transaction because

they: (1) exercised discretionary authority or control respecting management of the ESOP; (2)

exercised authority or control over the ESOP’s assets; and/or (3) had discretionary authority or

discretionary responsibility in the administration of the ESOP.

               As fiduciaries responsible for the 2012 Transaction, all Defendants were required

to act “for the exclusive purpose of providing benefits to participants and the beneficiaries of the

plan.” See ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A).

               As fiduciaries responsible for the 2012 Transaction, all Defendants were required

to act with the care, skill, prudence, and diligence under the circumstances then prevailing that a

prudent person acting in a like capacity and familiar with such matters would use in the conduct

of an enterprise of a like character and with like aims. See ERISA § 404(a)(1)(B), 29 U.S.C.

§ 1104(a)(1)(B).

               In the context of a sale of the sponsoring company/employer to an ESOP, the duties

of loyalty under ERISA § 404(a)(1)(A) and prudence under ERISA § 404(a)(1)(B) require a

fiduciary to undertake an appropriate investigation to ensure that the ESOP and its participants pay

no more than adequate consideration for the Company’s assets.

               Pursuant to ERISA § 3(18), adequate consideration for an asset for which there is

no generally recognized market means the fair market value of the asset determined in good faith

by the trustee or named fiduciary pursuant to the terms of the plan and in accordance with

Department of Labor regulations.




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                 As fiduciaries responsible for the 2012 Transaction, all Defendants were required

to engage in appropriate due diligence and an independent investigation of the fair market value

of the CQ stock sold to the ESOP.

                 As alleged above, a prudent and loyal fiduciary would have determined that the

amount the ESOP paid for CQ stock, approximately $170 million, was greater than the fair market

value of the Company at the time of the Transaction.

                 A prudent and loyal fiduciary would have recognized that the $170 million

purchase price was based on unrealistic financial projections and that the prior unsuccessful

attempts to sell the Company indicated it was not worth $170 million.

                 A prudent and loyal fiduciary would have concluded that the 100% leveraged

structure necessary to complete the 2012 the Transaction was imprudent and not in the best interest

of the ESOP participants.

                 By failing to act prudently and loyally in connection with the 2012 Transaction,

and by failing to restore the losses caused thereby, all Defendants breached their fiduciary duties

under ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B), and caused losses to the

ESOP and the individual retirement accounts of the participants in the ESOP.

                 All Defendants are liable for appropriate relief under ERISA § 409, 29 U.S.C.

§ 1109, and ERISA §§ 502(a)(2) and (3), 29 U.S.C. §§ 1132(a)(2) and (3), for these violations of

ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A) and (B).


                                           Count IV
                        Breach of Fiduciary Duties and Prohibited Transactions
             Under ERISA §§ 404(a)(1) and 406(a)(1)(A), 29 U.S.C. §§ 1104(a)(1) and 1106(a)
             (Against Co-Trustees Watson and Barrows in Connection with Events after the
                              2012 Transaction Including the Asset Sale)

                 Plaintiffs incorporate the preceding paragraphs as though set forth herein.

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               As discretionary Co-Trustees following the 2012 Transaction, Defendants Watson

and Barrows were required to act at all times prudently and loyally in accordance with ERISA §

404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B).

               Among other things, as prudent and loyal fiduciaries to the ESOP following the

2012 Transaction, the Co-Trustees should have corrected mistakes in the 2012 Transaction and

related reporting to participants and the DOL about the Transaction; sought to remedy any

overpayment by the ESOP for Company stock; and sought to restore the losses caused thereby.

               In addition, the Co-Trustees should have closely scrutinized the Asset Sale and

conducted appropriate due diligence regarding the Asset Sale, which would have revealed that it

was not prudent or in the best interest of Plan participants.

               The Co-Trustees failed to do any of these things. Instead, they concealed the

Company’s true financial condition and value (or lack thereof), and subsequently approved the

Asset Sale which was not in the best interests of ESOP participants.

               As a result, the Co-Trustees breached their fiduciary duties under ERISA §

404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B), and caused losses to the ESOP and the

individual retirement accounts of the participants in the ESOP.

               Additionally, through their votes – on behalf of the ESOP – to approve the

refinancing of the 2012 Transaction debt as part of the Asset Sale, which resulted in the transfers

of ESOP assets to the Selling Shareholders, the Co-Trustees caused prohibited transactions in

violation of ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D). These prohibited transactions

caused losses to the ESOP and the individual retirement accounts of the participants in the ESOP.

               The Co-Trustees are liable for appropriate relief under ERISA § 409, 29 U.S.C. §

1109, and ERISA §§ 502(a)(2) and (3), 29 U.S.C. §§ 1132(a)(2) and (3), for these violations of


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ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A) and (B), and ERISA § 406(a)(1)(D),

29 U.S.C. § 1106(a)(1)(D).

                                            Count V
                                Failure to Monitor Appointed Fiduciaries
                 Under ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A) and (B)
             (Against Board Defendants in Connection With the 2012 Transaction & Asset Sale)

                   Plaintiffs incorporate the preceding paragraphs as though set forth herein.

                   The Board Defendants had a duty to monitor any appointed fiduciary to ensure that

such appointee is acting in accordance with ERISA and in compliance with the terms of the Plan.

See 29 C.F.R. § 2509.75-8 (FR-17). If the appointed fiduciary has violated or continues to violate

ERISA, the monitoring fiduciary must remove the appointed fiduciary and attempt to restore any

losses to the plan caused by the ERISA violations.

                   The Board Defendants had the power to appoint and did appoint all fiduciaries

acting on behalf of the ESOP during the 2012 Transaction, including the Co-Trustees and the

Administrative Committee members. The Board Defendants also had the power to remove any

fiduciary acting on behalf of the ESOP during the 2012 Transaction if such fiduciary was not

properly carrying out their duties.

                   The Board Defendants breached their duty to monitor the ESOP fiduciaries that

they appointed. Among other things, the Board Defendants:

               1) appointed the Co-Trustees and Administrative Committee merely to rubber stamp
                  the 2012 Transaction (and the subsequent Asset Sale);

               2) failed to monitor and evaluate the performance of the ESOP fiduciaries they
                  appointed, or have a system in place for doing so;

               3) failed to ensure that the fiduciaries they appointed to act for the ESOP in connection
                  with the 2012 Transaction had complete, accurate and realistic financial
                  information concerning the financial viability of the Company, including
                  information concerning the Company’s financial projections for cash flow and
                  earnings upon which the valuation report was based;

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              4) stood idly by while participants suffered substantial losses as a result of the ERISA
                 violations caused by the fiduciaries they appointed;

              5) failed to implement a system to resolve conflicts of interest;

              6) failed to remove appointed fiduciaries whose performance was inadequate; and

              7) failed to ensure that these fiduciaries took appropriate remedial action to redress
                 their violations of ERISA.

                 The foregoing monitoring failures by the Board Defendants caused losses to the

ESOP and the individual retirement accounts of the participants in the ESOP.

                 The Board Defendants are liable for appropriate relief under ERISA § 409, 29

U.S.C. § 1109, and ERISA §§ 502(a)(2) and (3), 29 U.S.C. §§ 1132(a)(2) and (3), for these

monitoring failures.


                                     Alternatively, Count VI
             Co-Fiduciary Liability Under ERISA § 405(a)(1), 29 U.S.C. §§ 1105(a)(1)
                 (Against Board Defendants for 2012 Transaction & Asset Sale)

                 Plaintiffs incorporate the preceding paragraphs as though set forth herein.

                 ERISA § 405(a)(1), 29 U.S.C. § 1105(a)(1) provides that a fiduciary “with respect

to a plan shall be liable for a breach of fiduciary responsibility of another fiduciary with respect to

the same plan … if he participates knowingly in, or knowingly undertakes to conceal, an act or

omission of such other fiduciary[.]”

                 ERISA § 405(a)(2), 29 U.S.C. § 1105(a)(2) provides that a fiduciary “with respect

to a plan shall be liable for a breach of fiduciary responsibility of another fiduciary with respect to

the same plan … if he has enabled such other fiduciary to commit a breach[.]”

                 ERISA § 405(a)(3), 29 U.S.C. § 1105(a)(3) provides that a fiduciary “with respect

to a plan shall be liable for a breach of fiduciary responsibility of another fiduciary with respect to




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the same plan … if he has knowledge of a breach by such other fiduciary, unless he makes

reasonable efforts under the circumstances to remedy the breach.”

               The Board Defendants were involved in and directed the preparation of the

financial projections underlying the stock appraisal relied upon to justify the price of $170 million

that the ESOP paid for CQ stock.

               The Board Defendants also had responsibility for directing and monitoring

Company executives and management, who assisted in preparing the financial projections

underlying the valuation relied upon to approve the price that the ESOP paid for the Company.

               In addition, the Selling Board Members had unique knowledge about the

Company’s finances and the true value of the Company because they had unsuccessfully attempted

to sell Casino Queen to other third-party buyers and engaged in significant pricing negotiations

and due diligence requested by those potential buyers.

               Based on their responsibilities and their knowledge of the Company’s finances, the

Board Defendants knew that the financial projections underlying the stock appraisal were

unrealistic and inflated, and knew that the 2012 Transaction was not in the best interest of the

ESOP participants, and nonetheless knowingly participated in the Transaction and/or directed the

Transaction.

               The Board Defendants also knew that the Asset Sale was not prudent nor in the best

interest of the ESOP participants, and nonetheless knowingly participated in the sale and/or

approved the sale, in violation of ERISA § 405(a)(1), 29 U.S.C. § 1105(a)(1).

               Despite their knowledge of that the 2012 Transaction and the Asset Sale constituted

breaches of fiduciary duty by other fiduciaries, the Board Defendants made no reasonable efforts

to remedy those violations contrary to ERISA § 405(a)(3), 29 U.S.C. § 1105(a)(3). To the contrary,


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the Board Defendants concealed such fiduciary violations and failed to ensure that ESOP

participants received proper disclosures.

                 The Board Defendants, by failing to properly monitor the fiduciaries they appointed

in connection with the 2012 Transaction and the Asset Sale, enabled those fiduciaries to commit

breaches of fiduciary duties.

                 Through the actions and omissions alleged in this Count, the Board Defendants

caused losses to the ESOP and the individual retirement accounts of the participants in the ESOP.

                 By virtue of the foregoing, if the Board Defendants are not found to have direct

fiduciary responsibility for the prohibited transactions and fiduciary breaches committed in

connection with the 2012 Transaction and the Asset Sale, then they nonetheless are jointly and

severally liable as co-fiduciaries under ERISA §§ 405(a)(1), (2) and (3) 29 U.S.C. §§ 1105(a)(1),

(2) and (3), for violations of other fiduciaries in connection with the 2012 Transaction and the

Asset Sale.

                                   VII.    PRAYER FOR RELIEF

         Plaintiffs, on behalf of the Plan and the Class, pray that judgment be entered against

Defendants on each Count and respectfully requests that the Court award the following relief:

              a. Declare that Defendants have breached their fiduciary duties to the Casino Queen
                 ESOP and caused prohibited transactions in the manner described herein;

              b. Order Defendants to restore all losses to the ESOP, or pay such amount or surcharge
                 to the ESOP as is necessary to make it whole for any losses to the ESOP, which
                 resulted from said breaches and prohibited transactions;

              c. Order the Selling Board Members to provide all accountings necessary to determine
                 the amount of profits they must restore to the ESOP pursuant to 29 U.S.C.
                 §§ 1109(a) and 1132(a)(2) and (3), and further order that they make such a
                 restoration of profits;

              d. To the extent necessary, issue an injunction or order creating a constructive trust
                 into which all ill-gotten gains, fees, and/or profits paid to any of the Selling Board

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                Members in violation of ERISA shall be placed for the sole benefit of the ESOP
                and its participants and beneficiaries;

             e. Appoint an independent fiduciary to manage the assets of the ESOP;

             f. Order that Defendants provide other appropriate equitable relief to the ESOP;

             g. Certify the Class, appoint Plaintiffs as class representatives, and appoint Cohen
                Milstein and Nichols Kaster as Class Counsel;

             h. Award attorneys’ fees and costs pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g),
                and/or order payment of fees and expenses to Plaintiffs’ counsel on the basis of the
                common benefit or common fund doctrine out of any money recovered for the
                Class;

             i. Award pre-judgment interest and post-judgment interest; and

             j. Award such other and further relief that the Court determines is appropriate
                pursuant to ERISA § 502(a)(2) and/or § 502(a)(3), 29 U.S.C. § 1132(a)(2) and/or
                1132(a)(3), or pursuant to Rule 54(c) of the Federal Rules of Civil Procedure, or
                that is equitable and just.

 Dated: April 27, 2020
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